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UNITED STATES DISTRICT COURT

UNITED STATES OF AMERICA
V.
BERNARD L. MADOFF,

Defendant.

Case 1:08-mj-02735-UA Document 30. Filed 03/06/09 Page 1 of 1

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NOTICE OF INTENT TO
FILE AN INFORMATION

09 Cr,

Please take notice that the United States Attormey’s Office will file an information

upon the defendant’s waiver of indictment, pursuant to Rule 7(b) of the Federal Rules of Criminal

Procedure.

Dated: New York, New York
March 6 , 2009

By:

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LEV L. DASSIN
Acting United States Attorney

Ava (Ser

Marc Litt/Lisa Baroni
Assistant United States Attorneys

 

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ira Lee Sorkin, Esq.
Attorney for Bernard L. Madoff

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